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On February 16, 2005, the Panel transferred 138 civil actions to the United States Distri
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Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursur vi O
§ 1407. Since that time, 439 additional actions have been transferred to the Eastern Dis"f’ricf>of §§ §§
onorable Eldon E.

Louisiana. With the consent of that court, all such actions have been assigned to the H
Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure of the .l udicial Panel on Multidistrict Litigation. 199
F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District

of Louisiana for the reasons stated in the order of February 16, 2005, 360 F.Supp;.?d 1352 (J.P.-M.L.
2005), and, with the consent of that court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition With the Clerk

of the Panel within this ii

FOR THE PANEL:

Michael J. Beck
Clerk of the Panel

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fteen (15) day period, the stay will be continued until further order of the Panel.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02251 vvas distributed by faX, mail, or direct printing on
J unc 20, 2005 to the parties listed.

 

 

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Honorablc Sarnuel Mays
US DISTRICT COURT

